     CASE 0:04-cr-00463-RHK-AJB   Doc. 72   Filed 08/23/05     Page 1 of 1




                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,         )   Criminal No. 04-463 (01)(RHK)
                                  )
                Plaintiff,        )
                                  )
          v.                      )                 ORDER
                                  )
EVELYN JEANETTE JOHNSON           )
                                  )
                Defendant.        )


    The Defendant's Motion for Extension of Time is                   GRANTED.

The Court ORDERS as follows:

    Defendant’s    Position   Pleadings     shall    be      filed   with    the

Clerk of Court by August 30, 2005.

Dated:    August 23, 2005


                                  s/Richard H. Kyle
                                  RICHARD H. KYLE
                                  United States District Judge
